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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                     PINE BLUFF DIVISION


GARY CRAWFORD
ADC #129963                                                 PETITIONER

v.                       No. 5:11-cv-222-DPM

DEXTER PAYNE, Director,
Arkansas Division of Correction*                         RESPONDENT


                                ORDER
     Motion, Doc. 24, granted. As Magistrate Young noted in his 2011
recommendation, Crawford must seek and get permission from the
United States Court of Appeals for the Eighth Circuit before filing a
second or successive habeas petition challenging his 2004 conviction and
sentence.   Doc. 17 at 2-3;    28 U.S.C. § 2244(b)(3)(A).    That Court's
address is as follows:
     United States Court of Appeals for the Eighth Circuit
     Thomas F. Eagleton Courthouse
     111 Sou th 10th Street
     Room24.329
     St. Louis, Missouri 63102



* Dexter Payne is the Director of what is now known as the Arkansas
Division of Correction. The Court directs the Clerk to update the
docket. FED. R. CIV. P. 25(d).
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The Court directs the Clerk to send Crawford another copy of
Magistrate Judge Young's recommendation, Doc. 17, and Judge
Holmes's Order adopting it, Doc. 21.
     So Ordered.


                                       D .P. Marshall Jr.
                                       United States District Judge




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